Case 5:05-cr-50079-SMH-MLH        Document 70      Filed 03/24/11    Page 1 of 14 PageID #:
                                         222



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                           CRIMINAL ACTION NO. 05-50079-02

 VERSUS                                             CIVIL ACTION NO. 07-1750

 JASON RAKEL                                        JUDGE S. MAURICE HICKS, JR.

                                MEMORANDUM RULING

        Before the Court is a Motion to Vacate, Set Aside, or Correct Sentence under 28

 U.S.C. § 2255 (Record Document 56) filed by the Petitioner, Jason Rakel (“Rakel”). Rakel

 seeks to have his sentence corrected on the grounds of ineffective assistance of counsel

 during his guilty plea and sentencing. See id. Rakel contends that the ineffective

 assistance of counsel resulted in his guilty plea being involuntary. See id. He asks to be

 resentenced without a mandatory minimum and with a more effective attorney. See id. at

 12. For the reasons discussed herein, Rakel’s motion is DENIED.

                                     BACKGROUND

        On August 25, 2005, a federal grand jury returned a one-count indictment against

 Rakel and Sherri Lea Harrison. See Record Document 7. The Indictment charged them

 with knowingly and intentionally conspiring and agreeing together to distribute 50 grams or

 more of methamphetamine or 500 grams or more of a mixture or substance containing a

 detectable amount of methamphetamine, all in violation of 21 U.S.C. §§ 841(a)(1) and 846.

 See id. The Indictment alleged that the conspiracy began sometime in May 2005 and

 continued through August 4, 2005. See id.

        On November 10, 2005, Rakel pleaded guilty to the Indictment. See Record

 Documents 29-31. At that time, the Government filed a motion for a one-point reduction
Case 5:05-cr-50079-SMH-MLH         Document 70      Filed 03/24/11     Page 2 of 14 PageID #:
                                          223



 under U.S.S.G. § 3E1.1 for acceptance of responsibility. See Record Document 29. The

 Government also filed a Notice of Prior Convictions, pursuant to 21 U.S.C. § 851. See

 Record Document 30.

        The written factual basis submitted at the time of Rakel’s guilty plea provided:

                On 06-29-2005 TFA Anderson arrested Chad James after a traffic
        stop revealed James to be in possession of methamphetamines. Agents
        then took James to his residence at which time TFA Anderson found a safe
        containing approximately 52.7 grams of ICE. TFA Anderson then found
        approximately 116 grams of ICE in the living room end table. TFA Anderson
        also found several more drug related items including drug paraphernalia and
        drug ledgers. Based upon the statements of James and the drug ledgers, it
        was determined that James had purchased and sold in excess of 800 grams
        of ICE. James advised his source of supply was Sherri Harrison and that she
        lived in Dallas. James stated he began buying ICE from her in May of 2005
        and that he would pool his money with Jason Rakel to get a better price.
        James made recorded phone calls to both Harrison and Rakel in which they
        openly discussed their previous drug transactions and the possibility of new
        transactions. Harrison and Rakel were arrested together in Dallas pursuant
        to an arrest warrant and were found to be in possession of a small amount
        of methamphetamine and paraphernalia. Both individuals admitted to their
        role in the conspiracy.

 Record Document 31-2. Rakel signed the written factual basis on November 10, 2005.

 See id. With his signature, Rakel “agree[d] and stipulate[d] that the [written factual basis]

 adequately describe[d] his role in the offense of conspiracy to distribute 50 grams or more

 of methamphetamine or 500 grams or more of a mixture or substance containing a

 detectable amount of methamphetamine for the purposes of establishing his guilty beyond

 a reasonable doubt.” Id.

        On February 22, 2006, Rakel was sentenced to 240 months imprisonment and ten

 years supervised release upon his release from prison. See Record Document 36. He

 filed a Notice of Appeal on March 3, 2006. See Record Document 38.

        On December 12, 2006, the United States Court of Appeals for the Fifth Circuit

                                        Page 2 of 14
Case 5:05-cr-50079-SMH-MLH         Document 70       Filed 03/24/11     Page 3 of 14 PageID #:
                                          224



 affirmed Rakel’s conviction for conspiracy to distribute methamphetamine. See Record

 Document 55. The Per Curiam opinion stated:

                Jason Rakel appeals his conviction for conspiracy to distribute
        methamphetamine. For the first time on appeal, he argues that his guilty
        plea was not supported by a sufficient factual basis. We hold that Rakel’s
        admitted purchase of 70.7 grams of methamphetamine in a two-week period
        is indicative of distribution, not personal use. Consequently, the district court
        did not plainly err in accepting his plea. See United States v. Palmer, 456
        F.3d 484, 489, 492 (5th Cir. 2006).
                AFFIRMED.

 Id. The decision was issued as mandate on January 3, 2007. See id.

                                    LAW AND ANALYSIS

 A.     Claims Not Cognizable Under 28 U.S.C. § 2255.

        After conviction and exhaustion of a defendant’s right to appeal, the Court is “entitled

 to presume that the defendant stands fairly and finally convicted.” U.S. v. Shaid, 937 F.2d

 228, 231-32 (5th Cir. 1991), quoting U.S. v. Frady, 456 U.S. 152, 164, 102 S.Ct. 1584,

 1592 (1982). “Our trial and appellate procedures are not so unreliable that we may not

 afford their completed operation any binding effect beyond the next in a series of endless

 post conviction collateral attacks. To the contrary, a final judgment commands respect.”

 Frady, 456 U.S. at 164-65, 102 S.Ct. at 1593. Consequently, issues that can be presented

 in a motion filed under 28 U.S.C. § 2255 are limited. A defendant can challenge a final

 conviction only on issues of constitutional or jurisdictional magnitude. See Shaid, 937 F.2d

 at 232. As the Fifth Circuit has stated:

        Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional
        rights and for a narrow range of injuries that could not have been raised on
        direct appeal and would, if condoned, result in a complete miscarriage of
        justice. Nonconstitutional claims that could have been raised on direct
        appeal, but were not, may not be asserted in a collateral proceeding.


                                         Page 3 of 14
Case 5:05-cr-50079-SMH-MLH          Document 70      Filed 03/24/11     Page 4 of 14 PageID #:
                                           225



 U.S. v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

        Even if a defendant has issues that are constitutional or jurisdictional in nature, he

 may be procedurally barred from raising them. In order to raise an issue for the first time

 on collateral review, a defendant must show both “cause” for his procedural default and

 “actual prejudice” resulting from the error. Id. at 168. To establish “cause,” a defendant

 must show some external impediment prevented him from raising the claim on direct

 appeal. See U.S. v. Flores, 981 F.2d 231, 235 (5th Cir. 1993). In order to meet the “actual

 prejudice” test, he must demonstrate not just the possibility of prejudice, “but an actual and

 substantial disadvantage, infecting his entire trial with error of constitutional dimension.”

 Shaid, 937 F.2d at 233.

        A narrow exception to the “cause and actual prejudice” requirement exists in

 extraordinary cases “in which a constitutional violation has probably resulted in the

 conviction of one who is actually innocent.”        Id. at 232.    The Supreme Court has

 emphasized that this exception is limited to only those cases involving “manifest

 miscarriages of injustice” that would result in the continued incarceration of an innocent

 person.1 Id., citing Smith v. Murray, 477 U.S. 527, 537, 106 S.Ct. 2661, 2649 (1986).

        In his motion, Rakel vaguely refers to misstatements made by the Court that he

 claims rendered his guilty plea involuntary.       See Record Document 56 at 8-9, 11.

 Specifically, he alleged that the “Court misadvised him;” that the Court gave him


        1
          To establish “actual innocence” in a case where the petitioner entered a plea of
 guilty, he must demonstrate that “in light of all the evidence, it is more likely than not that
 no reasonable juror would have convicted him.” Bousley v. United States, 523 U.S. 614,
 623, 118 S.Ct. 1604, 1611, 140 L.Ed.2d 828 (1998), citing Schlup v. Delo, 513 U.S. 298,
 327-28, 115 S.Ct. 851, 867-68, 130 L.Ed.2d 808 (1995).


                                         Page 4 of 14
Case 5:05-cr-50079-SMH-MLH          Document 70       Filed 03/24/11     Page 5 of 14 PageID #:
                                           226



 “misinformation . . . during the Rule 11 colloquy;” and that the Court misunderstood the law.

 Id. Rakel’s contentions relating to any alleged mishandling of his guilty plea by the Court

 cannot be presently considered, as such claims are procedurally defaulted.

        In Bousley v. U.S., 523 U.S. 614, 118 S.Ct. 1604 (1998), the Supreme Court stated:

                We have strictly limited the circumstances under which a guilty plea
        may be attacked on collateral review. It is well settled that a voluntary and
        intelligent plea of guilty made by an accused person, who has been advised
        by competent counsel, may not be collaterally attacked. And even the
        voluntariness and intelligence of a guilty plea can be attacked on collateral
        review only if first challenged on direct review. Habeas review is an
        extraordinary remedy and “ ‘will not be allowed to do service for an appeal.

        ...

                Where a defendant has procedurally defaulted a claim by failing to
        raise it on direct review, the claim may be raised in habeas only if the
        defendant can first demonstrate either cause and actual prejudice, or that he
        is actually innocent.

 Id. at 621-622; 118 S.C.t at 1610-1611 (internal citations and quotations omitted). Here,

 Rakel contends that misstatements by the Court rendered his guilty plea involuntary. As

 noted in Bousley, the voluntariness of a guilty plea cannot be attacked on collateral review

 unless first challenged on direct appeal. In his appeal, Rakel disputed the sufficiency of the

 written factual basis, but did not challenge the voluntariness of his guilty plea. In failing to

 do so, he procedurally defaulted his claim that misstatements by the Court rendered his

 guilty plea involuntary. Moreover, he has presented no “cause” for the procedural default

 and neither the record nor any argument presented by Rakel supports a finding of actual

 innocence. Accordingly, Rakel’s claims as to the Court’s alleged misstatements during his

 guilty plea cannot be presently considered and the Section 2255 motion asserted on these

 grounds is denied.


                                         Page 5 of 14
Case 5:05-cr-50079-SMH-MLH         Document 70      Filed 03/24/11     Page 6 of 14 PageID #:
                                          227



 B.     Ineffective Assistance of Counsel Claims.

        The general ruling prohibiting a defendant from raising claims on collateral review

 absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance of

 counsel. Massaro v. U.S., 538 U.S. 500, 504, 123 S.Ct. 1690, 1693 (2003). The

 procedural-default rule is a doctrine employed by the courts “to conserve judicial resources

 and to respect the law’s important interest in the finality of judgments.” Id. Requiring a

 criminal defendant to bring ineffective assistance of counsel claims on a direct appeal

 promotes neither of these objectives. Moreover, a claim of ineffective assistance of

 counsel cannot be properly resolved on appeal because there has been no opportunity to

 develop the record on the merits of these allegations. See U.S. v. Alanis, 88 Fed. Appx.

 15, 19 (5th Cir. 2004). Thus, a criminal defendant is properly permitted to bring ineffective

 assistance of counsel claims in a collateral proceeding under Section 2255, regardless of

 whether such claims could have been raised on direct appeal. See id.

        To prevail on his claims of ineffective assistance of counsel, Rakel must prove (1)

 that his counsel’s actions fell below an objective standard of reasonableness and (2) that

 his counsel’s ineffective assistance was prejudicial. See Strickland v. Washington, 466

 U.S. 668, 104 S. Ct. 2052 (1984); Bryant v. Scott, 28 F.3d 1411, 1414-1415 (5th Cir. 1994).

 Under the first prong of the Strickland analysis, Rakel must show that his counsel “made

 errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the

 defendant by the Sixth Amendment.” Id. at 687, 104 S.Ct. at 2064. The court is to

 presume that the attorney’s actions are encompassed within the wide range of reasonable

 competence and fall under the ambit of trial strategy. The defendant may overcome this

 presumption only by showing that under the “totality of the circumstances,” the attorney’s

                                        Page 6 of 14
Case 5:05-cr-50079-SMH-MLH         Document 70      Filed 03/24/11     Page 7 of 14 PageID #:
                                          228



 performance was “outside the wide range of professionally competent assistance.” Id., 466

 U.S. at 690, 104 S.Ct. at 2066. Under the second prong of the Strickland test, the

 defendant must show “that there is a reasonable probability that, but for counsel’s specified

 errors, the result of the proceeding would have been different.” Murray v. Maggio, 736 F.2d

 279, 282 (5th Cir. 1984). “A reasonable probability is a probability sufficient to undermine

 confidence in the outcome.” Strickland, 466 U.S. at 694, 104 S.Ct. at 2068.

        Failure to establish either Strickland prong defeats the claim. See Tucker v.

 Johnson, 115 F.3d 276, 280 (5th Cir. 1997).     Courts may also analyze the prongs in any

 order. See Goodwin v. Johnson, 132 F.3d 162, 173 n. 6 (5th Cir. 1997) (“[T]here is no

 reason for a court deciding an ineffective assistance claim to approach the inquiry in the

 same order or even to address both components of the inquiry if the defendant makes an

 insufficient showing on one.”).

 Guilty Plea

        “A voluntary guilty plea waives all nonjurisdictional defects in the proceedings

 against the defendant.” U.S. v. Glinsey, 209 F.3d 386, 392 (5th Cir. 2000) (internal citation

 omitted). This waiver includes claims of ineffective assistance of counsel except insofar

 as the ineffectiveness is alleged to have rendered the guilty plea involuntary. See id.

        Rakel contends that his plea agreement, guilty plea, and admissions made during

 the guilty plea hearing were not voluntary because of the “misadvisements” by his attorney.

 Record Document 56 at 8; Record Document 61 at 2-3. Specifically, he argues that his

 attorney erred when he advised him to admit at the plea hearing that (1) he was guilty of

 conspiracy; (2) he was guilty of the elements of the offense; (3) his minimum sentence was



                                        Page 7 of 14
Case 5:05-cr-50079-SMH-MLH         Document 70      Filed 03/24/11     Page 8 of 14 PageID #:
                                          229



 20 years; (4) he purchased “Ice;”2 and (5) all facts set out in the factual basis were true.

 See Record Document 56 at 6. Rakel further contends that during the guilty plea hearing,

 he did not admit to the drug quantity allegation contained in the Indictment. See Record

 Document 61 at 6-7.3

        Despite his arguments to the contrary, a review of the guilty plea transcript in this

 matter easily establishes that Rakel’s guilty plea was voluntary. Rakel stated during the

 plea hearing that his plea was “a free and voluntary act on [his] part.” Guilty Plea

 Transcript at 15; U.S. v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994), citing Blackledge v.

 Allison, 431 U.S. 63, 74, 97 S.Ct. 1621, 1629 (1977) (“Sworn statements made in open

 court during a plea hearing ‘carry a strong presumption of verity.’”). Rakel claims that his

 attorney was ineffective for advising him to plead guilty to a conspiracy and to admit to the

 elements of the offense. However, the Fifth Circuit stated in its per curiam opinion that

 Rakel’s conspiracy conviction was supported by his admitted purchase of 70.7 grams of

 methamphetamine in a two-week period. During the plea hearing, Rakel stated that he

 understood that he”was part of a conspiracy to distribute methamphetamine.” Id. at 3. The

 undersigned also explained the elements of the offense to Rakel and then asked:

        THE COURT:           Now, all of that explains with a conspiracy charge in the
                             distribution of methamphetamine has been filed against
                             you. Can the government prove all of that against you


        2
        Rakel contends that his attorney was ineffective because he failed to investigate
 the chemistry involved to determine if the substance at issue in this case was “Ice.” Record
 Document 61 at 4.
        3
        Rakel contends that he “balked at the admissions he had to make” and that he
 “would not admit to the quantity of drugs discussed by the Court at the change of plea
 hearing and did not admit that he ever sold any meth involved in the case.” Record
 Document 56 at 4.

                                        Page 8 of 14
Case 5:05-cr-50079-SMH-MLH         Document 70       Filed 03/24/11    Page 9 of 14 PageID #:
                                          230



                             if they went to trial, in your opinion?

        THE DEFENDANT: From my understanding, the evidence they have, yes.

 Id. at 14. Based on the foregoing, the Court finds that the attorney’s advice for Rakel to

 plead guilty and to admit the elements of the offense can hardly be considered outside the

 wide range of professionally competent assistance.

        Likewise, Rakel’s claims relating to minimum sentence, drug quantity, the

 identification of the substance at issue, and the factual basis fail. The Indictment charged

 Rakel with knowingly and intentionally conspiring and agreeing together to distribute 50

 grams or more of methamphetamine or 500 grams or more of a mixture or substance

 containing a detectable amount of methamphetamine, in violation of 21 U.S.C. § 841(a)(1).

 See Record Document 7. The penalty provision for an offense entailing 50 grams or more

 of methamphetamine or 500 grams or more of a mixture or substance containing a

 detectable amount of methamphetamine is delineated at 21 U.S.C. § 841(b)(1)(A)(viii)

 which provides that for a defendant with a prior felony drug offense the term of

 imprisonment is not less than twenty years and not more than life. Rakel does not dispute

 his prior felony drug offense. He acknowledged his prior narcotics conviction during the

 plea hearing. See Guilty Plea Transcript at 16-17. The undersigned further explained:

        THE COURT:           Now, in this particular instance, because you have
                             admitted to the notice of prior narcotics convictions, the
                             maximum punishment is increased, and it actually
                             becomes a mandatory minimum period of time of not 10
                             but 20 years in prison.

 Id. at 16.

        The Fifth Circuit’s opinion, the plea package, and the transcript of the guilty plea in

 this matter further confirm that Rakel admitted to a conspiracy entailing more than 50

                                        Page 9 of 14
Case 5:05-cr-50079-SMH-MLH        Document 70      Filed 03/24/11      Page 10 of 14 PageID #:
                                          231



  grams of methamphetamine. Rakel’s signed factual basis is “accorded great evidentiary

  weight.” U.S. v. Abreo, 30 F.3d 29, 32 (5th Cir. 1994). Further, his sworn statements made

  in open court during the plea hearing “carry a strong presumption of verity.” Wilkes, 20

  F.3d at 653. The following excerpts from the plea colloquy are telling:

        THE COURT:           In this instance, the factual basis recounts a finding of
                             52.7 grams of Ice in a safe, about 116 grams of Ice on
                             the living room end table, and following that discovery
                             – it looks like we have about 800 grams of Ice total
                             that’s involved in all of this. Is that about your
                             understanding of this?

        THE DEFENDANT: I wasn’t there when they found it. That was at someone
                       else’s house. But that’s my understanding, he found
                       that much.

        THE COURT:           How were you involved            in    the distribution of
                             methamphetamine or Ice?

        THE DEFENDANT: I knew Sherry Harrison. I used to – I used to get my,
                       my Ice from her, but – you know that I have a prior
                       conviction. And after that, I was, was scared to make
                       the trip. I wouldn’t do it as much. So I would – Sherry
                       introduced me to Chad, the person that was busted with
                       the 116 grams and the 52 grams, and I would give him
                       money to purchase Ice. So that would be my part.

        ...

        THE COURT:           There’s an allegation in here that, according to Mr.
                             James, he began buying Ice from Sherry Harrison in
                             May of 2005 and that he would pool his money with
                             your money to get a better price.

        THE DEFENDANT: I only knew James for about two weeks before he got
                       busted. But I – I can’t say that he didn’t know Sherry. I
                       don’t know how long he knew Sherry. That was one of
                       Sherry’s friends. She introduced me to him.

        THE COURT:           Would you pool your money with Mr. James in order to
                             try to get a better price?


                                       Page 10 of 14
Case 5:05-cr-50079-SMH-MLH         Document 70        Filed 03/24/11      Page 11 of 14 PageID #:
                                           232



         THE DEFENDANT: I would – I would give him money. I don’t know if he got
                        a better price. I just, you know – I wanted my drugs, so
                        I would give him money.

         THE COURT:           All right, sir. I’ll accept the Factual Basis as filed into the
                              record. Mr. Rakel, do you have any questions about
                              anything contained in that Factual Basis? If you do,
                              now is the time to tell me.

         THE DEFENDANT: I have no, no questions. I mean . . .

         THE COURT:           Do you disagree with any part of it?

         THE DEFENDANT: I mean, I only knew James for two weeks. I bought
                        Ice from him on two different occasions. I – it’s in
                        that other affidavit. I got the 14 grams from him and
                        then I got the 2 ounces from him, and that’s the only
                        dealings I had with James.

         THE COURT:           That’s probably enough.

         THE DEFENDANT: It is. It’s over 50 grams. Therefore, I’m guilty, and
                        that’s why I am pleading guilty.

  Guilty Plea Transcript at 6-7 (emphasis added). Rakel clearly admitted to conduct entailing

  a conspiracy to distribute more than 50 grams of methamphetamines.4                   Thus, the

  Indictment and the written factual basis accurately reflected Rakel’s conduct and, under the

  totality of the circumstances, his attorney cannot be said to be ineffective for recommending

  he admit his guilt. Such recommendations clearly fall within the wide range of reasonable

  competence and fall under the ambit of trial strategy.

         Rakel’s statements during the guilty plea also demonstrate that his contention that

  his lawyer should have argued at the plea that the substance at issue was not “Ice” is



         4
         Rakel admitted to buying 14 grams and 2 ounces of Ice. One ounce is equivalent
  to 28.35 grams. See Record Document 58-1 at 14-15. Therefore, Rakel admitted to
  purchasing 70.7 grams of methamphetamine.

                                         Page 11 of 14
Case 5:05-cr-50079-SMH-MLH           Document 70       Filed 03/24/11     Page 12 of 14 PageID #:
                                             233



  meritless. Throughout the guilty plea, Rakel himself referred to Ice. Yet, more importantly,

  whether or not the offense in this matter involved “Ice” had no affect on the statutory

  penalty. See U.S. v. Gore, No. 05-41824, 2007 WL 26822, **1 (5th Cir. Jan. 4, 2007) (“The

  fact that the methamphetamine involved in the offense was ‘ice’ was not a fact that

  increased the statutory penalty for [the] crime such that it, in effect, became an essential

  ‘element’ of the offense charged.”); U.S. v. Clark, No. 05-41819, 2006 WL 2590301, **1

  (5th Cir. Sept. 8, 2006) (“While 21 U.S.C. § 841(b)(1) provides different statutory penalties

  for different quantities of methamphetamine, it does not make a distinction between

  methamphetamine and ‘ice.’ Because the fact that the methamphetamine involved in [the]

  offense was ‘ice’ does not affect the statutory penalty for his crime, that fact is not an

  ‘element’ of the offense.”). Rakel admitted to an offense entailing more than 50 grams of

  methamphetamines and was properly sentenced under 21 U.S.C. § 841(b)(1)(A)(viii).

  Therefore, Rakel’s attorney was not ineffective for failing to argue at the plea that the

  substance at issue was not “Ice.” See Wilkes, 20 F.3d at 653.

  Sentencing

         Rakel further contends that his lawyer “was ineffective because he failed to properly

  research the law concerning the complicated federal sentencing procedures” and “failed

  to properly prepare for sentencing.” Record Document 61 at 2. More specifically, he refers

  to his attorney’s failure to know the legal definition of ice; his lawyer’s failure to argue that

  Rakel had no minimum sentence; his lawyer’s failure to advise the Court of his cooperation

  with law enforcement; and that the sentence was above the true guideline range. See id.

  at 3-5, 6.

         The Court addressed Rakel’s contentions regarding “Ice” and minimum sentence

                                          Page 12 of 14
Case 5:05-cr-50079-SMH-MLH          Document 70       Filed 03/24/11     Page 13 of 14 PageID #:
                                            234



  in its previous analysis relating to the guilty plea hearing. The same rationale applies in the

  context of sentencing, as it is clear that whether or not the offense in this matter involved

  “Ice” had no affect on the statutory penalty and that Rakel fully understood that he faced

  a 20 year mandatory minimum sentence. Again, the attorney was not ineffective for failing

  to press these frivolous points. See Sones v. Hargett, 61 F.3d 410, 415 n. 5 (5th Cir.

  1995) (“Counsel cannot be deficient for failing to press a frivolous point.”).

         Rakel argues that his attorney was ineffective for failing to advise the Court that he

  cooperated with law enforcement. However, the Government did not file any type of motion

  for reduction of sentence based on Rakel’s substantial assistance. Without such a motion,

  the mention of any cooperation with law enforcement would not have had any effect on the

  sentence. Thus, the attorney’s failure to raise this issue did not fall below an objective

  standard of reasonableness.

         Finally, Rakel’s contention that his attorney was ineffective for failing to object to a

  sentence that was above the guideline range is meritless. As previously discussed, a

  mandatory statutory minimum sentence of 20 years applied in this case and the guideline

  range was inapplicable. The attorney was not ineffective for failing to raise a meritless

  objection at sentencing. See Wilkes, 20 F.3d at 653; Sones, 61 F.3d at 415 n. 5.5

                                         CONCLUSION

         The Court finds Rakel’s claims concerning the voluntariness of his guilty pleas and


         5
           In his motion, Rakel briefly mentions that his appellate counsel was deficient for not
  appealing his sentence. See Record Document 56 at 11. This argument appears to be
  based on Rakel’s contention that there was no 20 year mandatory minimum sentence and
  that his sentence was above the true guideline range. As set forth previously, these
  arguments are frivolous. Rakel’s appellate counsel cannot be said to be ineffective for
  failing to raise frivolous issues on appeal.

                                         Page 13 of 14
Case 5:05-cr-50079-SMH-MLH        Document 70       Filed 03/24/11    Page 14 of 14 PageID #:
                                          235



  ineffective assistance of counsel are without merit. Accordingly, Rakel’s Motion to Vacate,

  Set Aside, or Correct Sentence under 28 U.S.C. § 2255 (Record Document 56) is

  DENIED.6

         THUS DONE AND SIGNED, at Shreveport, Louisiana, this 24th day of March, 2011.




         6
         Rakel also filed a Motion for Status Hearing. See Record Document 69. In light of
  the Court’s ruling on Rakel’s Section 2255 motion, the Motion for Status Hearing is denied
  as moot.

                                        Page 14 of 14
